                   Case 2:21-cv-01536-AMM Document 229 Filed 09/06/23 Page 1 of 1                                                   FILED
                                                                                                                         2023 Sep-06 AM 11:01
                                             UNITED STATES DISTRICT COURT                                                U.S. DISTRICT COURT
                                                 Northern District of Alabama                                                N.D. OF ALABAMA
                                                       Office of the Clerk
                                             Hugo L. Black United States Courthouse
                                               Room 140, 1729 5th Avenue North
                                                 Birmingham, Alabama 35203
                                                         (205) 278-1700


Mr. Dave Smith, Clerk
U.S. Court of Appeals, 11th Circuit
56 Forsyth Street, N.W.
Atlanta, GA 30303.



                                                     U.S.D.C. No :2:21 CV 1536 AMM
                                                     U.S.C.A. No. New Appeal
                                                     IN RE: Caster et al. V. Allen

Enclosed are documents regarding an appeal in this matter. Please acknowledge receipt on the enclosed copy of this transmittal.

☒         Certified copy of Notice of Appeal, Docket Entries and Judgment/Order and Opinion appealed from enclosed.

☐       Certified record, supplemental record on appeal consisting of: Click here to enter text. volume(s) of pleadings, etc.;
        Click here to enter text.volume(s) of transcripts;

☒       First Notice of Appeal? No Dates of other Notices: 01/25/2022 (22-10272)

☐       The following materials SEALED in this court (order enclosed) consisting of: Click here to enter text.

☐       Original papers (court file) and certified copy of docket entries per USCA request.

☐       There was no hearing from which a transcript could be made.

☐       Copy of CJA Form 20 or District Court order appointing counsel.

☒       The appellant docket fee has been paid. Yes Date Paid: 09/06/2023

☐       The appellant has been leave to appeal in forma pauperis and        request for certificate of appealability (order enclosed).

☒       The Judge/Magistrate Judge appealed from is: Anna M. Manasco

☐       The Court Reporter is:    Christina Decker

☐       This is a BANKRUPTCY APPEAL. Please send notice of final order and/or opinion to: Joe Bulgarella, Clerk, U.S.
        Bankruptcy Court, 1800 5th Avenue North, Birmingham, Alabama 35203.

☐       This is a DEATH PENALTY appeal.

☐       Appellant having failed to cure procedural defects re: appeal fee, the appeal is due to be DISMISSED.

☐       Other:

xc: Counsel                                 Greer M. Lynch, Clerk

                                            By_ __A. Day___________
                                                   Deputy Clerk
